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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES -- GENERAL


Case No.       CV 19-2121-MWF(JCx)                                    Dated: February 27, 2023

Title:         Marcellus McMillian -v- Golden State FC, LLC, et al.

PRESENT: HONORABLE MICHAEL W. FITZGERALD, U.S. DISTRICT JUDGE

               Rita Sanchez                          Amy Diaz
               Courtroom Deputy                      Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFFS:                 ATTORNEYS PRESENT FOR DEFENDANTS:

               Aaron Gbewonyo                        Barbara Fitzgerald
                                                     Alexander L. Groden
                                                     Ethel Johnson

PROCEEDINGS:               TELEPHONIC - STATUS CONFERENCE

         Case called, and counsel make their appearance. The Status Conference is held.

      The Court and counsel confer regarding trial set for March 14, 2023. For reasons stated
on the record, trial will be continued to a later date. Counsel shall confer, then email Ms.
Sanchez with a potential new date for trial.

         IT IS SO ORDERED.




                                                                            Initials of Deputy Clerk rs
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